














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NO. PD-0026-13





KENDRICK EARL EDWARDS, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIRST COURT OF APPEALS

FORT BEND COUNTY




	Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure
9.4(i)(2)(D) and 9.3(b), the petition exceeds 15 pages and the original petition is not
accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: April 17, 2013

Do Not Publish


